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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                  Judge John L. Kane

  Civil Action No. 05-cv-01149-AP

  MARK WALTON,

                       Plaintiff,
  v.

  THE UNITED STATES OF AMERICA,

                       Defendant.


                                           ORDER

  Kane, J.

         Upon careful review and consideration of the unique circumstances apparent in

  this case, Plaintiff’s Motion to Compel (Doc. #18), filed December 7, 2005, is

  GRANTED. Given the assertion that Plaintiff’s waiver of his right to challenge the

  underlying tax assessment was procured by misrepresentation or fraud, I am persuaded

  that the administrative record in this appeal must be expanded to include the record in the

  underlying liability/assessment proceedings. Accordingly,

         1.     The government shall supplement the record with the record of the

                administrative assessment proceedings within 20 days of the date of this

                Order, or no later than March 7, 2006.

         2.     The parties shall confer thereafter and file a Joint Status Report providing

                me with an amended proposed briefing schedule on appeal. The Status
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              Report is due five days after the additional administrative record is

              provided, but no later than March, 14 2006.

        3.    In the interim, the current briefing schedule is VACATED, to be reset upon

              receipt of the Joint Status Report.



  Dated: February 8, 2006                           s/John L. Kane
                                                    SENIOR U.S. DISTRICT JUDGE
